          IN THE UNITED STATES DISTRICT COURT FOR THE
       NORTHERN DISTRICT OF INDIANA, SOUTH BEND DIVISION

 DeWANE DUNN,                                      )
                                                   )   No. 3:24-CV-00601
               Plaintiff,                          )
                                                   )
               v.                                  )   Hon. Judge Jon E. DeGuilio
                                                   )
 CITY OF ELKHART, et al.                           )   Hon. Mag. Judge John E.
                                                   )   Martin
               Defendants.                         )
                                                   )   JURY TRIAL DEMANDED
                                                   )
                                                   )

   PLAINTIFF’S UNOPPOSED MOTION FOR EXTENSION OF TIME TO
      REPLY TO DEFENDANT WAGNER’S MOTION TO DISMISS

      Now comes Plaintiff, DeWAYNE DUNN, by and through his counsel, and

respectfully moves this Court for an extension of time until Monday, November 18,

2024, to respond to Defendant Wagner’s Motion to Dismiss (Dkt. 28). In support of

this Motion, Plaintiff states as follows:

      1.     On October 16, 2024 Defendant Wagner filed his Motion to Dismiss.

(Dkt. 28).

      2.     Pursuant to LR 7-1(d)(2)(A), Plaintiff’s Response to the Defendant

Wagner’s Motion is due today, November 6, 2024.

      3.     Plaintiff has started drafting his response. However, due to the

following professional commitments and conflicts with counsel’s schedule, Plaintiff

will not be able to complete his response by the due date. Those conflicts are as

follows: Oral Argument in Brown v. Louisville-Jefferson Co, KY et al., Case No. 23-

5673 (6th Circuit); depositions in Yell v. City of Russelville, et al., Case No. 20-cv-47
(W.D. Ky.); providing trial testimony in People v. Trutenko, and People v. Horvat,

Case Nos. 22 CR 1350201 & 22 CR 1358601 (Cook County, Ill.) over several days;

discovery responses in Benson et al., v. City of Indianapolis et al., Case No. 24-cv-

839 (S.D. Ind.); and pretrial filings in Horton v. City of Rockford, et al., Case No. 18-

cv-6829 (N.D. Ill.)

      4.     As a result, Plaintiff seeks to extend the response deadline to Monday,

November 18, 2024, to reply to Defendant Wagner’s Motion to Dismiss.

      5.     Defendant Wagner’s counsel do not oppose this extension.



DATED: November 6, 2024                         Respectfully submitted,

                                                /s/ Elliot Slosar

 Jon Loevy
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                          CERTIFICATE OF SERVICE

      I, Elliot Slosar, an attorney, hereby certify that on November 6, 2024, I filed

the foregoing motion via the Court’s CM/ECF System and thereby served a copy on

all counsel of record.


                                              /s/ Elliot Slosar




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